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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  TRUMP MEDIA & TECHNOLOGY GROUP CORP.,

         Plaintiff,

  vs.                                                      Case No: 8:23-cv-
                                                           01535-TPB-AAS
  WP COMPANY LLC d/b/a The Washington Post,

      Defendant.
  ____________________________________/

        DEFENDANT WP COMPANY LLC’S UNOPPOSED MOTION
             FOR LEAVE TO FILE A SHORT REPLY BRIEF

        Defendant WP Company LLC (“The Post”) hereby moves pursuant to Local

 Rule 3.01(d) for leave to file a two-page reply brief in support of its Motion to

 Dismiss the Second Amended Complaint (Doc. No. 74). The reply brief would

 address one new issue of fact raised in the opposition brief (“Opp.” or “Opposition,”

 Doc. No. 75) of Plaintiff Trump Media & Technology Group Corp. (“TMTG”); Pk

 Studios, Inc. v. R.L.R. Invs., LLC, 2015 WL 12843877, at *1 (M.D. Fla. Dec. 8, 2015)

 (“The purpose of a reply brief is to rebut any new law or facts contained in the

 opposition’s response to a request for relief before the Court.” (citation omitted)).

 The Post submits that the reply could assist the Court in its analysis as to that new

 issue of fact for the following reasons:

        1.     On January 27, 2025, The Post moved to dismiss the Second Amended

 Complaint (Doc. No. 70), arguing that TMTG had failed to plausibly allege actual

 malice as to the two challenged “Finder’s Fee Statements” in The Post’s May 13,
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 2023 article (“Article”). TMTG filed its Opposition on February 17, 2025.

       2.    A reply would address TMTG’s attempt to amend the Second

 Amended Complaint via brief. In its Opposition, TMTG adds an actual malice

 allegation that for the first time admits that TMTG, in fact, had what it calls an

 “unsigned and undated draft referral fee agreement,” and also acknowledges that

 The Post “cited” that agreement in the Article. Opp. at 6 (emphases removed).

 Despite the Court’s prior instruction that TMTG “include in any amended

 complaint allegations regarding the impact of the fee agreement and the invoice”

 referenced in the Article, March 8, 2025 Order (Doc. 54) at 11, the Second

 Amended Complaint did not include any such allegations.

       3.    The Post, therefore, has not had an opportunity to respond to this new

 allegation raised only in a brief. See United States v. 8 Luxury Vehicles, 2015 WL

 13793108, at *1 (M.D. Fla. May 7, 2015) (granting leave to file a reply where the

 plaintiff raised “new facts” in its opposition). A reply would be appropriate to

 provide The Post opportunity to show that the allegation that The Post had and

 relied upon this “draft referral agreement” demonstrates the implausibility of

 TMTG’s actual malice allegations. Opp. at 6.

       4.    The Post requests five days after the Court rules on this Motion to file

 a two-page reply brief.

                   LOCAL RULE 3.01(g) CERTIFICATION
       Undersigned counsel conferred with Plaintiff’s counsel, and Plaintiff’s

 counsel does not oppose the relief sought herein.


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  Dated: February 26, 2025                Respectfully submitted,

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